 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 1 of 21 Page ID #:1


1    Tina Wolfson (SBN 174806)
2    twolfson@ahdootwolfson.com
     Bradley K. King (SBN 274399)
3    bking@ahdootwolfson.com
     AHDOOT & WOLFSON, PC
4    10728 Lindbrook Drive
5
     Los Angeles, California 90024
     310.474.9111 (telephone)
6    310.474.8585 (facsimile)
7    Cornelius P. Dukelow*
     Oklahoma Bar No. 19086
8    ABINGTON COLE + ELLERY
9    320 South Boston Avenue
     Suite 1130
10   Tulsa, Oklahoma 74103
     918.588.3400 (telephone & facsimile)
11   cdukelow@abingtonlaw.com
12
     *Pro Hac Vice application to be submitted
13
     Counsel to Plaintiff and the Proposed Classes
14
15                       UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
17

18                                            §
     SHADI HAYDEN, individually and on § Case No. 8:20-cv-01203
19   behalf of all others similarly situated, §
                                              §
20                        Plaintiff,          § CLASS ACTION COMPLAINT
           v.                                 §
21                                            §
                                              §
22   THE RETAIL EQUATION, INC., and §
     SEPHORA USA, INC.,                       §
23                                            §
                          Defendants.         § DEMAND FOR JURY TRIAL
24                                            §
25
26
27
28
29
30                             CLASS ACTION COMPLAINT - 1 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 2 of 21 Page ID #:2


1          Plaintiff, individually and on behalf of all others similarly situated, alleges on
2    personal knowledge, investigation of counsel, and on information and belief as follows:
3                             BRIEF SUMMARY OF THE CASE
4          1.     This case involves the unlawful sharing, receipt, and use of consumer data
5    – specifically, non-anonymized, individual Consumer Commercial Activity Data and
6    Consumer ID Data (as defined below).
7          2.     Without the consent or knowledge of its consumers, Defendant Sephora
8    USA, Inc. (“Sephora”) shares with Defendant The Retail Equation, Inc. (“TRE”) data
9    collected from Sephora’s consumers. TRE processes the shared consumer data to
10   generate a consumer report and a “risk score” for each of Sephora’s consumers. The “risk
11   score” is then used as a pretext to advise Sephora that attempted product returns and
12   exchanges are fraudulent and abusive. Plaintiff and Class members, defined below, are
13   harmed by a) the sharing of their Consumer Commercial Activity Data and Consumer ID
14   Data by Sephora, b) the receipt of their Consumer Commercial Activity Data and
15   Consumer ID Data by TRE, and c) the use of their Consumer Commercial Activity Data
16   and Consumer ID Data by both Defendants. Furthermore, as a result of the practices
17   described herein, Sephora denies valid returns and exchanges.
18         3.     This is a class action against Defendant Sephora USA, Inc. and Defendant
19   The Retail Equation, Inc. for invasion of privacy, violations of California’s unfair
20   competition law, unconscionability, defamation per se, violations of the Fair Credit
21   Reporting Act, and unjust enrichment.
22                                           PARTIES
23         4.     Plaintiff Shadi Hayden is an individual residing in Campbell, California.
24         5.     Defendant Sephora USA, Inc. is a Michigan corporation with its principal
25   place of business and headquarters in San Francisco, California.
26         6.     Defendant The Retail Equation, Inc. is a Delaware corporation with its
27   principal place of business and headquarters in Irvine, California.
28
29
30                               CLASS ACTION COMPLAINT - 2 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 3 of 21 Page ID #:3


1                                 JURISDICTION AND VENUE
2          7.      This Court has federal question jurisdiction under 28 U.S.C. § 1331 because
3    Plaintiff brings a claim under the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§
4    1681e, et seq.
5          8.      This Court has subject matter jurisdiction over this matter pursuant to 28
6    U.S.C. § 1332(d)(2) because the amount in controversy exceeds $5,000,000 (exclusive
7    of interests and costs), because in the aggregate the proposed nationwide Class is believed
8    to number at least in the thousands, and because at least one member of the Class is a
9    citizen of a State different from Defendants.
10         9.      This Court has personal jurisdiction over Defendants because they are
11   authorized to do business and regularly conduct business in California. Defendant The
12   Retail Equation, Inc. has its headquarters and principal place of business in California, is
13   authorized to do business in California, and regularly conducts business in California.
14   Defendant Sephora USA, Inc. has its headquarters and principal place of business in
15   California, is authorized to do business in California, and regularly conducts business in
16   California.
17         10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the
18   headquarters and principal place of business of Defendant The Retail Equation, Inc. is in
19   this District and a substantial part of the events, acts, and omissions giving rise to
20   Plaintiff’s claims occurred in this District. Defendant Sephora USA, Inc. also maintains
21   retail locations in this District and regularly conducts business in this District.
22                                  STATEMENT OF FACTS
23                                           Defendants
24         11.     Defendant Sephora USA, Inc. (“Sephora”) describes itself as “a leader in
25   global prestige retail.” Sephora operates approximately 2,300 stores in 33 countries
26   worldwide, and approximately 400 stores in the United States.
27         12.     Defendant The Retail Equation, Inc. (“TRE”), also operating under the
28   moniker Appriss Retail, describes itself as “the industry leader in retail transaction
29
30                                CLASS ACTION COMPLAINT - 3 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 4 of 21 Page ID #:4


1    optimization solutions at the point of sale and point of return.”1 TRE’s technology “uses
2    statistical modeling and analytics to detect fraudulent and abusive behavior when returns
3    are processed at retailers’ return counters.”2 TRE’s parent company, Appriss, Inc.,
4    “provides artificial intelligence-based solutions to help retailers protect margin, unlock
5    sales, and cut shrink.”3 Appriss “optimizes retailers’ revenue and margin by shaping
6    behavior in every consumer transaction. The company’s solutions use predictive analytics
7    to turn each individual shopper’s purchase or return into a more profitable experience.”4
8    Appriss claims that its “solutions create sizable new sales at the return counter, while also
9    building customer loyalty, and prevent fraudulent and abusive returns, reducing return
10   rates, and improving shrink.”5 Appriss further declares that it “yields immediate financial
11   payback, increasing store comps by as much as 2 percent, with significant return on
12   investment.”6
13             13.    Discussing Appriss’ acquisition of TRE in 2015, Appriss CEO Mike Davis
14   said: “We are excited to partner with The Retail Equation as we strengthen our strategy
15   to combat organized crime and fraud in all industries.”7 Deven Parekh, chairman of the
16   board for Appriss, further stated: “We believe that Appriss and The Retail Equation have
17   unique capabilities that, together, provide a powerful improvement to the shopping
18   experience by identifying and curbing employee dishonesty, consumer fraud and
19

20
21   1
         https://www.theretailequation.com/frequently-asked-questions/ (last visited July 2, 2020).
22   2
         Id.
     3
23       https://apprissretail.com/about/overview/ (last visited July 2, 2020).
     4
         Id.
24
     5
         Id.
25   6
         Id.
26   7
       Appriss Acquires The Retail Equation To Strengthen Efforts In Fighting Fraud And Mitigating Risk,
27   RETAIL SUPPLY CHAIN INSIGHTS (Aug. 19, 2015),
     https://www.retailsupplychaininsights.com/doc/appriss-acquires-retail-equation-strengthen-fighting-
28   fraud-mitigating-risk-0001 (last visited July 2, 2020).

29
30                                       CLASS ACTION COMPLAINT - 4 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 5 of 21 Page ID #:5


1    organized crime within retail.”8 Commenting on Appriss’ acquisition and merger of
2    Sysrepublic with TRE in 2016, TRE President Mark Hammond echoed Mr. Parekh’s
3    sentiment: “We believe that Appriss, The Retail Equation, and Sysrepublic all bring
4    unique capabilities that, together, provide a powerful improvement to the shopping
5    experience by identifying and curbing employee dishonesty, consumer fraud, and
6    organized crime within retail.”9
7                          Defendants’ Data Collection, Sharing and Use
8              14.   Without the knowledge or consent of consumers, Sephora continuously
9    collects large amounts of data about its consumers and shares the collected data with
10   TRE. Although present elsewhere, Sephora’s data collection efforts are most prevalent at
11   the point of sale and point of return & exchange. Consumer data collected by Sephora
12   and shared with TRE falls broadly within two categories: “Consumer Commercial
13   Activity Data” and “Consumer ID Data”.
14             15.   As used herein, “Consumer Commercial Activity Data” collected by
15   Sephora and shared with TRE includes the unique purchase, return, and/or exchange
16   histories of individual consumers, i.e., what a consumer buys, when a consumer buys,
17   where a consumer buys, how much a consumer buys, how often a consumer buys, what
18   form of payment a consumer uses, etc. The same, or similar, data is also collected for
19   returns and exchanges.
20             16.   As used herein, “Consumer ID Data” collected by Sephora and shared with
21   TRE includes the unique identification information contained on or within a consumer’s
22   driver’s license, government-issued ID card, and/or passport. Unique identification
23   information contained on or within a consumer’s driver’s license, government-issued ID
24
25   8
         Id.
26   9
      Appriss Acquires Sysrepublic; Further Enhances Efforts To Fight Retail Fraud, Protect Profits and
27   Mitigate Risk, LOSS PREVENTION INSIGHTS (Apr. 13, 2016),
     https://www.losspreventioninsights.com/doc/appriss-acquires-sysrepublic-further-fight-mitigate-risk-
28   0001 (last visited July 2, 2020).

29
30                                   CLASS ACTION COMPLAINT - 5 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 6 of 21 Page ID #:6


1    card, and/or passport includes, but is not necessarily limited to, the consumer’s name,
2    date of birth, race, sex, photograph, complete street address, and zip code.
3            17.   The Consumer Commercial Activity Data and Consumer ID Data collected
4    by Sephora and shared with TRE are non-anonymized and individual data sets, as
5    opposed to anonymized and collective data sets. The Consumer Commercial Activity
6    Data and Consumer ID Data collected by Sephora and shared with TRE have not been
7    sanitized and personally identifiable information has not been removed.
8            18.   Without the consent or knowledge of Sephora’s consumers, TRE processes
9    the shared Consumer Commercial Activity Data and Consumer ID Data with its
10   “statistical modeling and analytics” to create a consumer report and generate a “risk
11   score” for each of Sephora’s consumers. The inequity and harm resulting from using data
12   found on a consumer’s ID – name, date of birth, race, sex, photograph, street address, zip
13   code, etc. – to generate a consumer’s “risk score” cannot be overstated.
14                          Attempted Return or Exchange Process
15           19.   Every time a consumer purchases goods from Sephora, included in the
16   bargain is the ability to return or exchange the purchased goods within a specified period
17   of time.
18           20.   When a Sephora consumer attempts to make a return or exchange, Sephora
19   swipes or scans the consumer’s driver’s license, government-issued ID card, or passport
20   and/or scans the original sales transaction receipt (if present), thereby identifying the
21   consumer and the consumer’s unique purchase, return, and exchange behavior. New
22   Consumer Commercial Activity Data and Consumer ID Data are also generated at this
23   time.
24           21.   Without the consent or knowledge of the consumer, Sephora transmits to
25   and shares with TRE the Consumer Commercial Activity Data and Consumer ID Data it
26   collects from the consumer when the consumer attempts to make a return or exchange.
27   This process personally identifies the consumer attempting to make the return or
28   exchange and the identified consumer’s “risk score” is generated and accessed.
29
30                               CLASS ACTION COMPLAINT - 6 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 7 of 21 Page ID #:7


1           22.   If a consumer’s “risk score” does not meet the score requirement for that
2    consumer, TRE automatically identifies the attempted return or exchange as fraudulent
3    and abusive. Then, using the consumer’s “risk score” as a pretext, TRE notifies Sephora
4    that the attempted returns is “fraudulent and abusive” and should therefore be denied.
5           23.   Sephora informs the consumer that the attempted return or exchange is
6    denied and refuses to process the return or exchange – even when the return or exchange
7    is valid.
8           24.   Based upon TRE’s data analytics and TRE’s statement to Sephora that
9    certain attempted returns and exchanges are fraudulent and abusive and should be denied,
10   Sephora denies valid returns and exchanges.
11                                       Plaintiff Hayden
12          25.   Plaintiff Hayden purchased cosmetics from Sephora on July 7, 2019.
13          26.   Plaintiff Hayden attempted to return or exchange a portion of the cosmetics
14   on July 9, 2019.
15          27.   Plaintiff Hayden presented the receipt for the original purchase at the time
16   of the attempted return or exchange.
17          28.   Sephora’s sales associate entered Plaintiff Hayden’s transaction information
18   into Sephora’s computer system.
19          29.   Sephora transmitted Plaintiff Hayden’s transaction information to TRE.
20          30.   Sephora’s sales associate did not notify Plaintiff Hayden that her transaction
21   information was being transmitted to TRE.
22          31.   Plaintiff Hayden did not know her transaction information was being
23   transmitted to TRE.
24          32.   Sephora’s sales associate did not notify Plaintiff Hayden that her transaction
25   information transmitted to TRE was being used by TRE to generate a “risk score” for her
26   from which TRE would then make a fraud determination and generate an approval or
27   denial of the attempted return or exchange.
28
29
30                               CLASS ACTION COMPLAINT - 7 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 8 of 21 Page ID #:8


1          33.   Plaintiff Hayden did not know that her transaction information transmitted
2    to TRE was being used by TRE to generate a “risk score” for her from which TRE would
3    then make a fraud determination and generate an approval or denial of the attempted
4    return or exchange.
5          34.   After Sephora entered Plaintiff Hayden’s transaction information into its
6    computer system, and transmitted that information to TRE, TRE communicated to
7    Sephora’s sales associate that the attempted return or exchange was to be declined.
8          35.   After entering Plaintiff Hayden’s transaction information into Sephora’s
9    computer system and receiving the communication from TRE, Sephora’s sales associate
10   stated to Plaintiff Hayden that the return or exchange was declined based upon the
11   recommendation of TRE.
12         36.   Sephora’s sales associate then presented Plaintiff Hayden a printout stating
13   the return or exchange was declined and providing contact information for TRE.
14         37.   Sephora’s sales associate stated there was nothing further that could be done
15   by the associate or any other Sephora employee and that Plaintiff Hayden’s only recourse
16   was to contact TRE.
17         38.   Plaintiff Hayden was thereby prevented from completing the return or
18   exchange.
19                                 CLASS ALLEGATIONS
20         39.   Plaintiff brings this class action lawsuit individually and on behalf of the
21   proposed Class members under Rule 23 of the Federal Rules of Civil Procedure.
22         40.   Plaintiff seeks certification of the following Classes:
23               National Class: All persons in the United States who had their
                 data transmitted by Sephora to The Retail Equation.
24
                 and,
25
                 National Defamation Sub-Class: All persons in the United
26               States who had a return or exchange denied by Sephora
                 based on communications from The Retail Equation.
27
28
29
30                               CLASS ACTION COMPLAINT - 8 -
31
 Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 9 of 21 Page ID #:9


1          41.    Specifically excluded from the Classes are Defendants and any entities in
2    which Defendants have a controlling interest, Defendants’ agents and employees, the
3    judge to whom this action is assigned, members of the judge’s staff, and the judge’s
4    immediate family.
5          42.    Numerosity: Plaintiff does not know the exact number of Class members,
6    but believes the Classes comprises thousands of consumers throughout the United States.
7    As such, Class members are so numerous that joinder of all members is impracticable.
8          43.    Commonality: Common questions of law and fact exist and predominate
9    over any questions affecting only individual Class members. The common questions
10   include:
11                a.       Whether Defendants engaged in the conduct alleged herein;
12                b.       Whether Sephora’s conduct constituted Deceptive Trade Practices (as
13   defined below) actionable under the applicable consumer protection laws;
14                c.       Whether TRE defamed Plaintiff and Class members by advising
15   Sephora that attempted returns and exchanges were fraudulent and should, therefore, be
16   denied;
17                d.       Whether Defendants’ policies and procedures purposefully target
18   consumers of specific socioeconomic backgrounds;
19                e.       Whether Defendants’ policies and procedures negligently affect
20   consumers of specific socioeconomic backgrounds;
21                f.       Whether Defendants violated the FCRA;
22                g.       Whether Plaintiff and Class members are entitled to recover actual
23   damages and/or statutory damages; and
24                h.       Whether Plaintiff and Class members are entitled to equitable relief,
25   including injunctive relief, restitution, disgorgement, and/or the establishment of a
26   constructive trust.
27
28
29
30                                 CLASS ACTION COMPLAINT - 9 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 10 of 21 Page ID #:10


1          44.    Typicality: Plaintiff’s claims are typical of the claims of the Classes.
2    Plaintiff and Class members were injured through Defendants’ uniform misconduct and
3    their legal claims arise from the same core practices of Defendants.
4          45.    Adequacy: Plaintiff will fairly and adequately protect Class members’
5    interests. Plaintiff has no interests antagonistic to Class members’ interests, and Plaintiff
6    has retained counsel that has considerable experience and success in prosecuting complex
7    class action and consumer-protection cases.
8          46.    Risks: The proposed action meets the requirements of Fed. R. Civ. P.
9    23(b)(1) because prosecution of separate actions by individual Class members would
10   create a risk of inconsistent or varying adjudications that would establish incompatible
11   standards for Defendants. Sephora collects and shares, and TRE maintains and uses
12   Consumer Commercial Activity Data and Consumer ID Data of the Class members and
13   other individuals, and varying adjudications could establish incompatible standards with
14   respect to: whether Defendants’ ongoing conduct violates Class members’ rights as
15   alleged herein; and whether the injuries suffered by Class members are legally
16   cognizable, among others. Prosecution of separate actions by individual Class members
17   would also create a risk of individual adjudications that would be dispositive of the
18   interests of other Class members not parties to the individual adjudications, or
19   substantially impair or impede the ability of Class members to protect their interests.
20         47.    Injunctive Relief: The proposed action meets the requirements of Fed. R.
21   Civ. P. 23(b)(2) because Defendants have acted or have refused to act on grounds
22   generally applicable to the Classes, so that final injunctive relief or corresponding
23   declaratory relief is appropriate as to the Classes as a whole.
24         48.    Predominance: The proposed action meets the requirements of Fed. R. Civ.
25   P. 23(b)(3) because questions of law and fact common to the Classes predominate over
26   any questions that may affect only individual Class members in the proposed class.
27         49.    Superiority: The proposed action also meets the requirements of Fed. R.
28   Civ. P. 23(b)(3) because a class action is superior to all other available methods of fairly
29
30                               CLASS ACTION COMPLAINT - 10 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 11 of 21 Page ID #:11


1    and efficiently adjudicating this dispute. The injury sustained by each Class member,
2    while meaningful on an individual basis, is not of such magnitude that it is economically
3    feasible to prosecute individual actions against Defendants. Even if it were economically
4    feasible, requiring thousands of injured plaintiffs to file individual suits would impose a
5    crushing burden on the court system and almost certainly lead to inconsistent judgments.
6    By contrast, class treatment will present far fewer management difficulties and provide
7    the benefits of a single adjudication, economies of scale, and comprehensive supervision
8    by a single court. Plaintiff anticipates no unusual difficulties in managing this class
9    action.
10         50.    Certification of Particular Issues: In the alternative, the Classes may be
11   maintained as class actions with respect to particular issues, in accordance with Fed. R.
12   Civ. P. 23(c)(4).
13         51.    Finally, all members of the purposed Class are identifiable. Defendants have
14   access to addresses and other contact information for members of the Classes, which can
15   be used to identify Class members.
16                                     CHOICE OF LAW
17         52.    California law applies to Plaintiff’s and Class members’ claims because (1)
18   both Defendants in this action are headquartered in California, (2) a substantial part of
19   the alleged misleading and deceptive conduct emanated from California, and (3) the bad
20   faith, unfair, and unlawful conduct occurred in California.
21         53.    In the alternative, the laws of the states in which each Plaintiff and each
22   Class member resides apply.
23                                           COUNT I
24                                     Invasion of Privacy
25         54.    Plaintiff realleges and incorporates by reference every allegation set forth in
26   the preceding paragraphs as though alleged in this Count.
27         55.    Plaintiff and Class members reasonably expected that their Consumer
28   Commercial Activity Data and Consumer ID Data would be kept private and secure.
29
30                               CLASS ACTION COMPLAINT - 11 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 12 of 21 Page ID #:12


1          56.    Plaintiff and Class members reasonably expected that their Consumer
2    Commercial Activity Data and Consumer ID Data would not be collected, used, sold,
3    and/or disclosed by Defendants without appropriate notice and/or disclosures.
4          57.    Defendants unlawfully invaded Plaintiff’s and Class members’ privacy
5    rights by:
6                 a. collecting and/or using Plaintiff’s and Class members’ Consumer
7                    Commercial Activity Data and Consumer ID Data without complying
8                    with the California Consumer Privacy Act of 2018 sections 1798.100(b)
9                    and 1798.110(c);
10                b. selling and/or disclosing Plaintiff’s and Class members’ Consumer
11                   Commercial Activity Data and Consumer ID Data without complying
12                   with the California Consumer Privacy Act of 2018 section 1798.115(c);
13                c. collecting, selling, using and/or disclosing Plaintiff’s and Class
14                   members’ Consumer Commercial Activity Data and Consumer ID Data
15                   in a manner highly offensive to a reasonable person;
16                d. collecting, selling, using and/or disclosing Plaintiff’s and Class
17                   members’ Consumer Commercial Activity Data and Consumer ID Data
18                   without appropriate notice and/or disclosures; and
19                e. collecting, selling, using and/or disclosing Plaintiff’s and Class
20                   members’ Consumer Commercial Activity Data and Consumer ID Data
21                   without their informed, voluntary, affirmative, and clear consent.
22         58.    In collecting, selling, using and/or disclosing Plaintiff’s and Class members’
23   Consumer Commercial Activity Data and Consumer ID Data, Defendants acted in
24   reckless disregard of Plaintiff’s and Class members’ privacy rights. Defendants knew or
25   should have known that collecting, selling, using and/or disclosing Consumer
26   Commercial Activity Data and Consumer ID Data, is highly offensive to a reasonable
27   person in Plaintiff’s and Class members’ position.
28
29
30                               CLASS ACTION COMPLAINT - 12 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 13 of 21 Page ID #:13


1          59.      Defendants violated Plaintiff’s and Class members’ right to privacy under
2    the common law.
3          60.      Defendants violated Plaintiff’s and Class members’ right to privacy under
4    the California Constitution, Article I, Section 1.
5          61.      Defendants violated Plaintiff’s and Class members’ right to privacy under
6    the California Consumer Privacy Act of 2018 sections 1798.100(b), 1798.110(c), and
7    1798.115(c).
8          62.      As a direct and proximate result of Defendants’ unlawful invasions of
9    privacy, Plaintiff’s and Class members’ reasonable expectations of privacy were
10   frustrated and defeated. Defendants’ unlawful invasions of privacy damaged Plaintiff and
11   Class members as set forth above, and they are entitled to appropriate relief.
12                                            COUNT II
13                      Violations of California’s Unfair Competition Law
14                    California Business & Professions Code § 17200 et seq.
15         63.      Plaintiff realleges and incorporates by reference every allegation set forth in
16   the preceding paragraphs as though alleged in this Count.
17         64.      Section 17200 of the California Business & Professions Code (“UCL”)
18   prohibits any “unlawful,” “unfair,” or “fraudulent” business practices.
19         65.      Sephora violated, and continues to violate, the “unlawful” and “unfair”
20   prongs of the UCL by transmitting to and sharing with TRE the Consumer Commercial
21   Activity Data and Consumer ID Data it collected from Plaintiff and Class members
22   without the consent or knowledge of Plaintiff and Class members in violation of
23   Plaintiff’s and Class members’ right to privacy under the common law, California
24   Constitution, Article I, Section 1, and the California Consumer Privacy Act of 2018
25   sections 1798.100(b), 1798.110(c), and 1798.115(c).
26         66.      Sephora’s practice of transmitting to and sharing with TRE the Consumer
27   Commercial Activity Data and Consumer ID Data it collected from Plaintiff and Class
28   members is and was immoral, unethical, oppressive, unscrupulous, unconscionable,
29
30                                 CLASS ACTION COMPLAINT - 13 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 14 of 21 Page ID #:14


1    and/or substantially injurious to Plaintiff and Class members. Sephora’s practice is and
2    was also contrary to legislatively declared and public policy and the harm it caused to
3    consumers outweighed its utility, if any.
4          67.    TRE violated, and continues to violate, the “unlawful” and “unfair” prongs
5    of the UCL by receiving from Sephora the Consumer Commercial Activity Data and
6    Consumer ID Data Sephora collected from Plaintiff and Class members without the
7    consent or knowledge of Plaintiff and Class members in violation of Plaintiff’s and Class
8    members’ right to privacy under the common law, California Constitution, Article I,
9    Section 1, and the California Consumer Privacy Act of 2018 sections 1798.100(b),
10   1798.110(c), and 1798.115(c).
11         68.    TRE’s practice of receiving from Sephora the Consumer Commercial
12   Activity Data and Consumer ID Data Sephora collected from Plaintiff and Class members
13   is and was immoral, unethical, oppressive, unscrupulous, unconscionable, and/or
14   substantially injurious to Plaintiff and Class members. TRE’s practice is and was also
15   contrary to legislatively declared and public policy and the harm it caused to consumers
16   outweighed its utility, if any.
17         69.    Sephora and TRE violated, and continues to violate, the “unlawful” and
18   “unfair” prongs of the UCL by using the Consumer Commercial Activity Data and
19   Consumer ID Data Sephora collected from Plaintiff and Class members without the
20   consent or knowledge of Plaintiff and Class members in violation of Plaintiff’s and Class
21   members’ right to privacy under the common law, California Constitution, Article I,
22   Section 1, and the California Consumer Privacy Act of 2018 sections 1798.100(b),
23   1798.110(c), and 1798.115(c).
24         70.    Sephora’s and TRE’s practice of using the Consumer Commercial Activity
25   Data and Consumer ID Data Sephora collected from Plaintiff and Class members is and
26   was immoral, unethical, oppressive, unscrupulous, unconscionable, and/or substantially
27   injurious to Plaintiff and Class members. Sephora’s and TRE’s practice is and was also
28
29
30                                CLASS ACTION COMPLAINT - 14 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 15 of 21 Page ID #:15


1    contrary to legislatively declared and public policy and the harm it caused to consumers
2    outweighed its utility, if any.
3          71.    As a direct and proximate result of Sephora’s and TRE’s unlawful and unfair
4    conduct, Plaintiff and Class members have had their privacy rights violated and lost
5    money and property.
6          72.    Sephora’s and TRE’s conduct caused substantial injury to Plaintiff and Class
7    members. Accordingly, Plaintiff seeks an order enjoining Sephora and TRE from
8    committing such unlawful and unfair business practices, and seeks the full amount of
9    money the Plaintiff and Class members paid for the purchased goods and/or restitutionary
10   disgorgement of profits. Plaintiff also seeks attorneys’ fees and costs under Cal. Code
11   Civ. Proc. § 1021.5.
12                                          COUNT III
13                                      Unconscionability
14         73.    Plaintiff realleges and incorporates by reference every allegation set forth in
15   the preceding paragraphs as though alleged in this Count.
16         74.    Sephora’s practice of transmitting to and sharing with TRE the Consumer
17   Commercial Activity Data and Consumer ID Data it collected from Plaintiff and Class
18   members without the consent or knowledge of Plaintiff and Class members is and was
19   unfair and unconscionable.
20         75.    TRE’s practice of receiving from Sephora the Consumer Commercial
21   Activity Data and Consumer ID Data Sephora collected from Plaintiff and Class members
22   without the consent or knowledge of Plaintiff and Class members is and was unfair and
23   unconscionable.
24         76.    Sephora’s and TRE’s practice of using the Consumer Commercial Activity
25   Data and Consumer ID Data Sephora collected from Plaintiff and Class members without
26   the consent or knowledge of Plaintiff and Class members is and was unfair and
27   unconscionable.
28
29
30                                CLASS ACTION COMPLAINT - 15 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 16 of 21 Page ID #:16


1          77.     Sephora’s and TRE’s actions have harmed Plaintiff and Class members and
2    have caused them to suffer damages in an amount to be determined by this Court,
3    including interest on all liquidated sums.
4                                            COUNT IV
5                Defamation per se – Private Figure & Matter of Private Concern
6          78.     Plaintiff realleges and incorporates by reference every allegation set forth in
7    the preceding paragraphs as though alleged in this Count.
8          79.     This claim is brought on behalf of the Defamation Sub-Class only.
9          80.     Defamation in the Age of Big-Data Analytics requires fresh analysis.
10   Improperly, negligently, or maliciously analyzing data can harm vast numbers of people
11   in today’s commercial environment.
12         81.     At all times relevant herein, TRE’s purported business model has been to
13   detect and identify consumers committing fraud or engaging in organized crime on behalf
14   of its retail clients, including Sephora, and to thwart the fraud or organized crime by
15   preventing those consumers from making returns and exchanges.
16         82.     At all times relevant herein, Sephora knew and understood that TRE’s
17   purported business model has been to detect and identify consumers committing fraud or
18   engaging in organized crime on behalf of its retail clients, including Sephora, and to
19   thwart the fraud or organized crime by preventing those consumers from making returns
20   and exchanges .
21         83.     At all times relevant herein, Sephora understood and believed that
22   consumers detected and identified by TRE, and prevented from making returns and
23   exchanges by TRE, were committing fraud or engaging in organized crime.
24         84.     TRE    harmed     Plaintiff    and   Defamation   Sub-Class     members     by
25   communicating to Sephora that Plaintiff’s and Defamation Sub-Class members’
26   attempted returns and exchanges were fraudulent and/or affiliated with organized crime
27   and should therefore be denied.
28         85.     Fraud is a crime in every State in the United States.
29
30                                CLASS ACTION COMPLAINT - 16 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 17 of 21 Page ID #:17


1          86.    Organized crime is a federal crime punishable by the Racketeer Influenced
2    and Corrupt Organizations Statute (18 U.S.C. §§ 1961-1968).
3          87.    Sephora reasonably understood the statements made to it by TRE about
4    Plaintiff and Defamation Sub-Class members to mean that Plaintiff’s and Defamation
5    Sub-Class members’ attempted returns and exchanges were fraudulent and/or an
6    organized crime and that Plaintiff and Defamation Sub-Class members were committing
7    a crime.
8          88.    Sephora denied Plaintiff’s and Defamation Sub-Class members’ attempted
9    returns and exchanges because of the statements made by TRE.
10         89.    TRE failed to use reasonable care to determine the truth or falsity of the
11   statements it made to Sephora about Plaintiff and Defamation Sub-Class members.
12         90.    TRE failed to determine or even inquire about the reason for every single
13   return and exchange.
14         91.    TRE’s failure to determine, or even inquire, about the reasons for returns
15   and exchanges is a failure to use reasonable care to determine the truth or falsity of the
16   statements it made to Sephora about Plaintiff and Defamation Sub-Class members.
17         92.    TRE’s defamatory statements to Sephora harmed Plaintiff and Defamation
18   Sub-Class members because Sephora denied returns and exchanges to Plaintiff and
19   Defamation Sub-Class members based wholly upon TRE’s defamatory statements.
20                                          COUNT V
21                           Violation of Fair Credit Reporting Act
22         93.    Plaintiff realleges and incorporates by reference every allegation set forth in
23   the preceding paragraphs as though alleged in this Count.
24         94.    As individuals, Plaintiff and Class members are consumers entitled to the
25   protections of the FCRA. 15 U.S.C. § 1681a(c).
26         95.    Under the FCRA, a “consumer reporting agency” is defined as “any person
27   which, for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in
28   whole or in part in the practice of assembling or evaluating consumer credit information
29
30                               CLASS ACTION COMPLAINT - 17 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 18 of 21 Page ID #:18


1    or other information on consumers for the purpose of furnishing consumer reports to third
2    parties . . . .” 15 U.S.C. § 1681a(f).
3          96.    TRE is a consumer reporting agency under the FCRA because, for monetary
4    fees, it regularly engages in the practice of assembling or evaluating information on
5    consumers for the purpose of furnishing consumer reports to third parties.
6          97.    Under the FCRA, a “consumer report” is defined as “any written, oral, or
7    other communication of any information by a consumer reporting agency bearing on a
8    consumer’s credit worthiness, credit standing, credit capacity, character, general
9    reputation, personal characteristics, or mode of living which is used or expected to be
10   used or collected in whole or in part for the purpose of serving as a factor in establishing
11   the consumer’s eligibility for -- (A) credit or insurance to be used primarily for personal,
12   family, or household purposes; (B) employment purposes; or (C) any other purpose
13   authorized under section 1681b of this title.” 15 U.S.C. § 1681a(d)(1).
14         98.    The communications by TRE to Sephora were consumer reports under the
15   FCRA because they were communications of information bearing on Plaintiff’s and Class
16   members’ credit worthiness, credit standing, credit capacity, character, general
17   reputation, personal characteristics, or mode of living used, or expected to be used or
18   collected in whole or in part, for the purpose of serving as a factor in determining whether
19   or not to permit returns and/or exchanges from consumers.
20         99.    As a consumer reporting agency, TRE may only furnish consumer reports
21   under the limited circumstances set forth in 15 U.S.C. § 1681b, “and no other.” 15 U.S.C.
22   § 1681b(a). None of the purposes listed under 15 U.S.C. § 1681b permit consumer
23   reporting agencies to furnish consumer reports for the purpose of instructing retail
24   businesses to deny returns and/or exchanges. TRE violated § 1681b by furnishing
25   consumer reports to Sephora, as detailed above.
26         100. As a consumer reporting agency, the FCRA requires TRE to “maintain
27   reasonable procedures designed to . . . limit the furnishing of consumer reports to the
28   purposes listed under section 1681b of this title.” 15 U.S.C. § 1681e(a). None of the
29
30                                CLASS ACTION COMPLAINT - 18 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 19 of 21 Page ID #:19


1    purposes listed under 15 U.S.C. § 1681b permit consumer reporting agencies to furnish
2    consumer reports for the purpose of instructing retail businesses to deny returns and/or
3    exchanges. TRE, therefore, violated § 1681e(a) by furnishing consumer reports to
4    Sephora, as detailed above.
5          101. “No consumer reporting agency may furnish a consumer report to any
6    person if it has reasonable grounds for believing that the consumer report will not be used
7    for a purpose listed in section 1681b of this title.” 15 U.S.C. § 1681e(a). None of the
8    purposes listed under 15 U.S.C. § 1681b permit consumer reports to be used for the
9    purpose of permitting retail businesses to deny returns and/or exchanges. TRE knew the
10   purpose for which Sephora was using the consumer reports and knew Sephora’s purpose
11   was not a purpose listed in section 1681b. TRE, therefore, further violated § 1681e(a) by
12   furnishing consumer reports to Sephora, as detailed above.
13         102. TRE acted willfully because it knew or should have known about its legal
14   obligations under the FCRA. These obligations are well established in the plain language
15   of the FCRA and in the promulgations of the Federal Trade Commission. TRE obtained,
16   or had available, these and other substantial written materials that apprised it of its duties
17   under the FCRA. Any reasonable consumer reporting agency knows or should know
18   about these requirements. Despite knowing of these legal obligations, TRE acted
19   consciously in breaching known duties and depriving Plaintiff and Class members of their
20   rights under the FCRA.
21         103. Plaintiff and Class members have been damaged by TRE’s willful failure to
22   comply with the FCRA. Therefore, Plaintiff and Class members are entitled to recover
23   “any actual damages sustained by the consumer . . . or damages of not less than $100 and
24   not more than $1,000.” 15 U.S.C. § 1681n(a)(1)(A).
25         104. Plaintiff and Class members are also entitled to punitive damages, costs of
26   the action, and reasonable attorneys’ fees. 15 U.S.C. § 1681n(a)(2),(3).
27
28
29
30                                 CLASS ACTION COMPLAINT - 19 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 20 of 21 Page ID #:20


1                                          COUNT VI
2                                      Unjust Enrichment
3          105. Plaintiff realleges and incorporates by reference every allegation set forth in
4    the preceding paragraphs as though alleged in this Count.
5          106. Defendants have been unjustly enriched by unlawfully sharing, receiving
6    and using Consumer Commercial Activity Data and Consumer ID Data Sephora collected
7    from Plaintiff and Class members without the consent or knowledge of Plaintiff and Class
8    members.
9          107. There is no other adequate remedy at law. It would be unjust and unfair for
10   Defendants to retain any of the benefits obtained from their unlawful conduct.
11         108. Defendants should be compelled to disgorge into a common fund for the
12   benefit of Plaintiffs and Class members all unlawful or inequitable proceeds that
13   Defendants received.
14         109. A constructive trust should be imposed on all unlawful or inequitable sums
15   received by Defendants traceable to Plaintiffs and Class members.
16                                  PRAYER FOR RELIEF
17         Plaintiff, individually and on behalf of the Classes, respectfully request that the
18   Court order relief enter judgment in their favor and against Defendants as follows:
19         A.    An order certifying Plaintiff’s proposed Classes and appointing Plaintiff and
20         Plaintiff’s counsel to represent the Classes;
21         B.    An order that Defendants are permanently enjoined from their improper
22         conduct and practices as alleged;
23         C.    A judgment awarding Plaintiff and Class members appropriate monetary
24         relief, including actual and statutory damages, restitution, and disgorgement;
25         D.    An order that Defendants pay the costs involved in notifying the Class
26         members about the judgment and administering the claims process;
27         E.    Pre-judgment and post-judgment interest;
28         F.    Attorneys’ fees, expenses, and the costs of this action; and
29
30                              CLASS ACTION COMPLAINT - 20 -
31
Case 8:20-cv-01203-DOC-DFM Document 1 Filed 07/07/20 Page 21 of 21 Page ID #:21


1        G.    All other and further relief as this Court deems necessary, just, and proper.
2                                      JURY DEMAND
3        Plaintiff demands a trial by jury on all issues so triable.
4
5
     DATED: July 7, 2020                          Respectfully submitted,
6
7                                                 /s/ Tina Wolfson____________
8
                                                  Tina Wolfson (SBN 174806)
                                                  twolfson@ahdootwolfson.com
9                                                 Bradley K. King (SBN 274399)
                                                  bking@ahdootwolfson.com
10                                                AHDOOT & WOLFSON, PC
                                                  10728 Lindbrook Drive
11                                                Los Angeles, California 90024
12                                                310.474.9111 (telephone)
                                                  310.474.8585 (facsimile)
13
                                                  Cornelius P. Dukelow*
14                                                Oklahoma Bar No. 19086
15
                                                  ABINGTON COLE + ELLERY
                                                  320 South Boston Avenue
16                                                Suite 1130
                                                  Tulsa, Oklahoma 74103
17                                                918.588.3400 (telephone & facsimile)
                                                  cdukelow@abingtonlaw.com
18                                                www.abingtonlaw.com
19
                                                  *Pro Hac Vice application to be submitted
20
                                                  Counsel to Plaintiff and the Proposed
21                                                Classes
22
23
24
25
26
27
28
29
30                             CLASS ACTION COMPLAINT - 21 -
31
